              Case 3:21-cr-00021-CHB-CHL Document 19-1 Filed 03/30/21 Page 1 of 1 PageID #: 69




                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF KENTUCKY
                                                     AT LOUISVILLE
                                                   (Filed Electronically)


                       CRIMINAL ACTION NO. 3:21CR-21-CHB
                       UNITED STATES OF AMERICA,                                                   PLAINTIFF,


                       v.


                       ADDAM TURNER,                                                             DEFENDANT.

                                                               ORDER

                              Defendant having moved the Court pursuant to 18 U.S.C. § 3145(b) to revoke the

                       order of the Magistrate Judge detaining him prior to trial and the Court being sufficiently

                       advised,

                              IT IS ORDERED AND ADJUDGED that the order of the Magistrate Judge

                       detaining defendant prior to trial be, and the same hereby is, revoked, and defendant is

                       ordered released on the following terms and conditions:




   Office of the
Federal Defender
200 Theatre Building
 629 Fourth Avenue
Louisville, KY 40202

Tel (502) 584-0525
Fax (502) 584-2808                                                 19
